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AO 91 (Rev 5/85) Criminal Complaint @ AUSA Saima Mohsin _(313) 226-9163, SA Jason D. Bollinger_(248) 879-6090

United States District Court

 

 

EASTERN DISTRICT OF MICHIGAN - SD ‘ok
UNITED STATES OF AMERICA
V.
ARTAN SULSTAROVA CRIMINAL COMPLAINT

04-80741

CASE NUMBER:

I, the undersigned complainant being duly swom state the following is true and correct to the best of my knowledge
and belicf, On or about __ AUGUST 11, 2004 in __ Oakland county, inthe ____ Eastern District

of Michigan defendant(s) did, (Trace Statutory Language of Offense)

 

knowingly, willfully and unlawfully move and travel in interstate commerce, to wit: (rom Michigan to Ohio with the intent Purpose of avoiding prosecution on charges of Firs

and Second Degree Murder and assault with a deadly weapon, all of which are felonies under the State of Michigan,

in violation of Title __18 United States Code, Section(s) 1073
I further state that I am a(n) Special Agent and that this complaint is based on the following facts:

 

See attached affidavit I LL [
SEP 08 2004

Continued on the attached shect and made 2 part hercof: Yes O No CLERK'S OFFICE
DETROIT

Oy Den Pp: Bebb
enature of Complainant
"9 nD. Bollinger, Special won J

‘ederal Bureau of Investigation

Sworn lo before me and subscribed in my presence,

September 08, 2004 at Detroit, Michigan
Date City and State

VIRGINIA Mi, MORGAN
United States Magistrate Judge Ur im VO

Name & Title of Judicial Oilicer Signature of ati ial Officer

 

 

 
 

 

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’ Case 2:04-mj-80741-VMM ECF No.1 filed 09/08/04 PagelD.2 Page 2 of 2

AFFIDAVIT

Jason D, Bollinger, Special Agent, Federal Bureau of Investigation, being duly sworn,
deposes and says the following:

1. On August 12, 2004, an arrest warrant was issued by Oakland County 52-1
District Court, Wixom, Michigan, charging ARTAN SULSTAROVA, defendant herein, with
murder first and second degree and assault with a deadly weapon, all felonies under the laws of
the state of Michigan.

2. On September 07, 2004, the Office of the Prosecuting Attorney, Oakland County,
Wixom, Michigan, requested assistance from the Federal Bureau of Investigation, Troy,
Michigan, to locate and apprehend the defendant based on the recommendation from the Wixom,
Michigan Police Department.

3. An intense search by local authorities has not disclosed the whereabouts of the
defendant, who has been missing from his normal residence since August 12, 2004. The alleged
crime occurred on or about August 12, 2004, at Wixom, Michigan.

4, Further investigation conducted by the Oakland County Fugitive Apprehension
Team revealed information to reasonably believe that the defendant has fled the State of
Michigan with the intent and purpose of avoiding prosccution on the charges of the alleged
crime, .

5, The above is known to the undersigned to be truc through reliable information
obtained from results of investigation conducted by Wixom, Michigan Police Department and

Oakland County Fugitive Apprehension Team.

Jason D. Bollinger, Special 7cn
Federal Burcau of Investigatio

Sworn to and Subscribed before me
this 8th day of September, 2004

by mm No

Unitdd)States Magistrate Judge

 
